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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

Stacy A. Caudle ) Case Number: 18-cv-50019
Plaintiff )
) Judge:
v. )
JCT,Diamond Leasing, Magistrate Judge: lain D. Johnston
Defendant )

Creek County Sheriffs Department, Ok Ee Dp

Motion for a Judgement

We are Asking the Court For The named parties, To enter a Judgement Against Them.
They have Refused To answer This court,the Plaintiff.

Here is the reasoning for asking for this Judgement, being the following.

1. Sent a summons in September( 25th) 2018.
There was no responds.

2.Another Summons sent on De cember(27 th)2018.
Still No responds by any names Defendents.

3. Yet again another Summons was sent to the Defendants. March 8th,2019
Yet again No responds From Any of the Defendants.

Your Honnor to remind you of the facts here which, became illegal once the Charges in Dekalb County Illinois
Where Dismissed Against Mr Caudle.
Mr Caudle Was a operator For JOT(John Christner Trucking), and leased the 07 Kenworth from Diamond leasing, Which is a arm
company of JCT.and M rCaudle payed alt the Maintance and cost of the said 07 Truck.
Mr Caudle loaded in Yuma,Az And while in route to Chicago,Was told there was a problem with the load of vegetables and | should
come the the yard so they can check lot numbers.As Mr Caudle was going to the yard from Tulsa Ok,he exited at the Sapulpa Ok.
He noticed a unmarked police car on the shoulder of the Exit. Mr Caudle Anived at the yard and went to the safety department.
They had a guy watching Mr Caudle,And after 45 minutes the safety director said while we are whating you logs need to be fixed.
Mr caudle wasn't in this office 10 minutes til the Creek County Police came in and arrested Mr caudle.
Mr Caudle Was taking to the jail,and was never offered to bail out. spent 17 days there, Waitting to be took back to Illinois.
As Mr Caudle could tell ance he was arrested that it was as lies just to arrest him,on a warrant from Dekalb County, illimeis.
As you look at this now you see, Conspiracy, Fraud,and Rico.
There Wasn't anything Wrong with the load.it was the charges, They took charge of all Mr Caudles belongings, Due to all the
Receipts we in the truck,So | can only Estimate the cost of things they took from the Truck.

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Untitled

I would Estimate the cost at 7800@.6@.
Jct worked with the police to arrest MrCaudLe, This
was planed out by all three Defendants.
Jct and Diamond Leasing just wanted the truck,all
MrCaudle's payments were up to date,So they Stole the
truck.

I think the Courts see's how all the Charge’s Fall
intp place here.
Preponderance, most would see this as MrCaudle
was,False arrest, false imprisonment, Conspiracy,and Rico.
e could throw greed as well.

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